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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION



In re:                                                   Chapter 11
RED RIVER TALC LLC,                                      Case No. 24-90505 (CML)
                 Debtor. 1


                                NOTICE OF APPEAL BY
                          CENTURY INDEMNITY COMPANY AND
                          OTHER INSURERS IDENTIFIED BELOW

                                    (Related to Dkt. Nos. 318, 529)

                NOTICE IS HEREBY GIVEN that Century Indemnity Company (as

successor to CCI Insurance Company, as successor to Insurance Company of North America),

Federal Insurance Company, Oakwood Insurance Company (as successor to Central National

Insurance Company of Omaha, but only for policies issued through Cravens, Dargan &

Company, Pacific Coast), ACE Property and Casualty Insurance Company (f/k/a CIGNA

Property & Casualty Insurance Company), Great Northern Insurance Company, Pacific

Employers Insurance Company, and Westchester Fire Insurance Company (collectively, the

“Insurers”) appeal to the U.S. District Court for the Southern District of Texas under 28 U.S.C.

§ 158(a) from the Bankruptcy Court’s Order Appointing Randi S. Ellis as Legal Representative for

Future Talc Claimants (the “Order,” Dkt. No. 529), entered on November 13, 2024. A copy of

the Order is attached hereto as Exhibit A.

                Other than appellant Insurers, the names of the other parties believed to be



1        The last four digits of the Debtor’s taxpayer identification number are 8508. The Debtor’s service
address in this chapter 11 case is 501 George Street, New Brunswick, New Jersey 08933.



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interested in this appeal, and the names, addresses, telephone numbers, and email addresses of

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Dated: November 25, 2024           Respectfully submitted,


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                                   Employers Insurance Company, and Westchester Fire
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